          Case 22-10804-elf    Doc 29 Filed 06/29/22 Entered 06/29/22 17:05:30                Desc Main
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                               UNITED STATES BANKRUTPCY COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA


       IN RE:                                       Chapter 13
       KELVIN A LASHLEY



                              Debtor                Bankruptcy No. 22-10804-ELF



                                                    ORDER

                            29th
      AND NOW, this ____________                   June
                                      day of ___________________,          2 upon consideration of the Motion
                                                                       202_,
to Dismiss Case filed by Kenneth E. West, Standing Trustee, and after notice and hearing, it is hereby
ORDERED that this case is DISMISSED and that any wage orders previously entered are VACATED.

      IT IS FURTHER ORDERED that any undisbursed funds held by the Chapter 13 Trustee from
 payments made on account of the Debtor’s plan shall be refunded to the Debtor unless a party in interest files a
 Motion for Alternative Disbursement within 21 days of the entry of this Order.



                                                            ______________________________
                                                            Honorable Eric L. Frank
                                                            Bankruptcy Judge

Kenneth E. West, Trustee
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